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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:08CR00054-06 JLH

MARK DAVIS                                                                          DEFENDANT

                                             ORDER

       Mark Davis entered into a plea agreement pursuant to which he entered a guilty plea and he

and the government requested that the Court reserve accepting the plea until after trial of the co-

defendants. The issue was whether the charges against Davis were barred by the statute of

limitations. A question was presented to the jury during the co-defendants trial as to whether there

was one conspiracy or two. Davis and the government agreed that if the jury found two conspiracies

then the court should not accept the plea because a finding of two conspiracies would mean that the

charges against Davis were barred by limitations. The jury found that there was only one

conspiracy. Nevertheless, Davis moved to dismiss the charges as barred by limitations. During a

hearing on April 20, 2012, the Court stated that it could not grant Davis’s motion because it was

tantamount to a motion for summary judgment, for which there is no provision in the Federal Rules

of Criminal Procedure. The Court also stated, however, that Davis has a right to withdraw his guilty

plea for any reason or no reason until it is accepted; and the Court granted Davis’s oral motion for

a continuance in part so he could consider whether he wished to withdraw his guilty plea. Court

convened again on August 16, 2012, and Davis stated that he did not wish to withdraw his guilty

plea. The Court therefore accepted his guilty plea. The motion to dismiss is denied as moot.

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IT IS SO ORDERED this 16th day of August, 2012.




                                        _________________________________
                                        J. LEON HOLMES
                                        UNITED STATES DISTRICT JUDGE
